                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF MINNESOTA

                                                 )
B.S., by and through his Parents and             )        Civil File No. 13-3220 (ADM/JJK)
Natural Guardians, K.S. and M.S.,                )
                                                 )
                               Plaintiffs,       )
                                                 )
       v.                                        )             PLAINTIFFS' MEMORANDUM IN
                                                 )             OPPOSITION TO MDE/OAH
ANOKA HENNEPIN PUBLIC SCHOOLS,                   )              MOTION FOR DISMISSAL
ISD No. 11, TOM HEIDEMANN, Chair of              )
Anoka Hennepin Board of Education,               )
MINNESOTA           DEPARTMENT      OF           )
EDUCATION, BRENDA CASSELLIUS,                    )
Commissioner, in her individual and              )
representative capacity, OFFICE OF               )
ADMINISTRATIVE HEARINGS,                         )
TAMMY PUST, Chief Administrative Law             )
Judge in her individual and                      )
representative capacity,                         )
                                                 )
                        Defendants.              )
________________________________                 )        JURY TRIAL REQUESTED



                                         INTRODUCTION
       Minnesota Department of Education ("MDE") and Brenda Cassellius ("Cassellius")

(collectively "MDE Defendants") and the Office of Administrative Hearings ("OAH") and

Tammy Pust ("Pust") (collectively "OAH Defendants") assert and argue through the Motion to

Dismiss that under no conceivable circumstances can state agencies and its officers ever be held

liable for actions taken within the scope of their official duties no matter the constitutional or

federal statutory violations. Nothing could be further from the truth as the United States

Supreme Court has repeatedly attempted to illuminate.


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        The MDE and OAH Defendants incorrectly assert that they are shielded from liability

under the IDEA on the following premises: 1) they were not a party to the administrative

proceeding; and 2) actions against state agencies under the IDEA are barred by Eleventh

Amendment immunity. MDE and OAH Defendants also assert that Plaintiffs failed to allege any

personal conduct on the part of Defendants Cassellius and Pust in their individual capacities.

Finally, MDE and OAH Defendants assert that there is no jurisdiction with this Court in the

pendant state claims involving violations of the Minnesota State Constitution and Chapter 14

rulemaking mandates for state agencies.

        Plaintiffs assert that the arguments by the MDE and OAH Defendants are contrary to the

clear language in the state and federal statutes, the United States Constitution and Minnesota

Constitution.

        Plaintiffs incorporate by reference the arguments presented in their Motion for Summary

Judgment.

                                      STANDARD OF REVIEW
        Federal Rule of Civil Procedure 8 requires that a complaint present “a short and plain

statement of the claim showing that the pleader is entitled to relief.” In order to meet this

standard, and survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’ ”

Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)). The plausibility

standard requires a plaintiff to show at the pleading stage that success on the merits is more than

a “sheer possibility.” Id. It is not, however, a “probability requirement.” Id. Thus, “a well-

pleaded complaint may proceed even if it strikes a savvy judge that actual proof of the facts



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alleged is improbable, and ‘that a recovery is very remote and unlikely.’ ” Twombly, 550 U.S. at

556, 127 S.Ct. 1955 (quoting Scheuer v. Rhodes, 416 U.S. 232, 236, 94 S.Ct. 1683, 40 L.Ed.2d

90 (1974)).

       A complaint states a plausible claim for relief if its “factual content ... allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 129

S.Ct. at 1949. Several principles guide us in determining whether a complaint meets this

standard. First, the court must take the plaintiff's factual allegations as true. Id. at 1949–50. This

tenet does not apply, however, to legal conclusions or “formulaic recitation of the elements of a

cause of action”; such allegations may properly be set aside. Id. (quoting Twombly, 550 U.S. at

555, 127 S.Ct. 1955). In addition, some factual allegations may be so indeterminate that they

require “further factual enhancement” in order to state a claim. Id. (quoting Twombly, 550 U.S. at

557, 127 S.Ct. 1955;) see also Brooks v. Ross, 578 F.3d 574, 581 (7th Cir.2009); Branden v.

Wal-Mart Stores, 588 F.3d 585, 594 (8th Cir. 2009).

       Finally, the complaint should be read as a whole, not parsed piece by piece to determine

whether each allegation, in isolation, is plausible. See Vila v. Inter–Am. Inv. Corp., 570 F.3d 274,

285 (D.C.Cir.2009) (factual allegations should be “viewed in their totality”); cf. Tellabs, Inc. v.

Makor Issues & Rights, Ltd., 551 U.S. 308, 322–23, 127 S.Ct. 2499, 168 L.Ed.2d 179 (2007)

(“The inquiry [under the Private Securities Litigation Reform Act] is whether all of the facts

alleged, taken collectively, give rise to a strong inference of scienter, not whether any individual

allegation, scrutinized in isolation, meets that standard.”). Ultimately, evaluation of a complaint

upon a motion to dismiss is “a context-specific task that requires the reviewing court to draw on

its judicial experience and common sense.” Iqbal, 129 S.Ct. at 1950.




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       To that end, this Court must examine each claim alleged against the MDE and OAH

Defendants taking the Complaint as a whole and based on allegations within the Plaintiffs'

Complaint to determine whether those claims have been properly pleaded and are supported by

factual allegations within the Complaint.

                                     UNDISPUTED FACTS
       The Plaintiffs, prior to bringing a Complaint and Request for an Administrative Hearing

(“Complaint”), wrote to the District on the 12th of December 2012 requesting specific changes to

B.S. individualized education program (“IEP”). The Plaintiffs’ requests were consistent with the

professionals who followed and evaluated B.S. over time but were not agreed upon between the

Plaintiffs and AHPS. Verified Complaint at p 5, ¶ 16.

       On the 22nd of May 2013, Plaintiffs filed a Complaint and Request for an Administrative

Hearing with the Minnesota Department of Education. Certified Inventory ("C.I."), Record Index

No. 17, appended to Affidavit of Margaret O'Sullivan Kane.

       During a pre-hearing conference held on the 14th of June 2013, the parties had a brief

discussion about the number of days for the administrative hearing. Both parties suggested one

and 1/2 days for the presentation of evidence of their respective evidence. A pre-hearing order

issued setting forth 9 hours for the presentation of each parties' evidence. No discussion was

held prior to the administrative hearing regarding the implications of the nine hour limitation. At

no time prior to the administrative hearing did the administrative law judge ("ALJ") state that

the 9 hour limitation was all the time that would be provided to each party. At no time prior to

the hearing did the ALJ state that the presentation of evidence would be cut off after the nine

hour limit. At no time prior to the hearing did the ALJ identify that the 9 hour limitation

included the parties' ability to cross examine adverse witnesses. Verified Complaint at 6., ¶ 20.



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        On the second day of the administrative hearing, the ALJ reminded the Plaintiffs that

they had used six hours and 50 minutes of the 9 hours allotted. C.I., Transcript Record, Trans.

444, appended to Affidavit of Margaret O'Sullivan Kane. Plaintiffs' counsel objected to the

limitation as an "artificial restriction" that "violates my client's right to due process to the extent

that they bear the burden and have the right to present evidence relevant to these proceedings."

Id. at Trans. 445-46. Plaintiffs' counsel sought clarification of the nine hour limitation as

follows:

Kane:           So I just want to understand this, so if I am in mid-witness examination, you will
                be cutting it off?
ALJ:            With regret.

Kane:           Declining to accept any more?
ALJ:            Indeed.

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Id. at Trans. 447; Verified Complaint at 7, ¶ 22.

        The ALJ identified, for the first time, at the end of the second day of the hearing that the

9 hour time limits applied to cross examination and Plaintiffs would not be permitted to cross

examine opposing party witnesses. Plaintiffs' counsel set forth the following in the

administrative record:

Kane:           My best thinking is that at this point we would convene the administrative hearing
                at this time, have your limitations on the time related to presentation of the issues
                certified for appeal, let us go to the Court of Appeals and find out whether they
                determine that this is actually lawful under the circumstances and meets my
                client's rights to a fair administrative hearing.

C.I. Transcript Record, Trans. 448-49; Verified Complaint at 7, ¶ 23.

        Plaintiffs' counsel timely objected as follows:




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Kane: I have to look at the certification issues. Let me look at the interlocutory appeal standard.
      Let me explain to you my position here on this and having a brief discussion with a
      Constitutional attorney on our break, my client has a Constitutional right to due process
      under these proceedings. There are no statutory authorized time limits to the
      administrative hearing, and the parents are entitled to present their evidence and present
      cross and direct.

       I realize that you issued an order indicating that nine hours would be allotted. I think that
       the nine hours is not reasonable, it's predicated upon a best practices that is not
       incorporated in law or statute. Since this is a Constitutional right to due process both
       under Federal statute and under the 14th Amendment, I think it's important enough that if
       my client is denied the opportunity to present their Complaint and the evidence to support
       their Complaint, then that is a violation of those interests.
       Now --

Id. at Trans. 453. Verified Complaint at 7, ¶ 24.

       The time limits denied the Plaintiffs cross examination of AHPS's witnesses. Plaintiffs

were denied the opportunity to testify or present evidence probative and relevant to the claims

before the ALJ. ALJ did not point out the District's counsel was unhampered by the Plaintiffs'

cross examination of the District's witnesses because the Plaintiffs' nine hour time limit had

lapsed. Verified Complaint at 9, ¶ 30.

       The Plaintiffs asked the ALJ to make a formal offer of proof. The request was denied.

Instead, Plaintiffs made an informal offer of proof on the administrative record. Certified

Inventory, Transcript Index No. 7.

       The ALJ issued a final decision on the 20th of September 2013. The decision was in the

District's favor. The decision itself was appealed in its entirety. Verified Complaint at 9, ¶ 31.

       Plaintiffs made Minnesota Government Data Practices requests sent to both the MDE and

OAH regarding the “best practices” due process limitations. Both the MDE and OAH responded

to the requests. Verified Complaint at 10, ¶ 32.




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        The documents internal to the MDE and OAH reflect that the two state agencies and their

employees worked together and in cooperation to create a set of “best practices” for special

education administrative hearings without consideration to the statutorily protected right to a full

administrative hearing. Seven best practices were identified and agreed upon between the MDE

and OAH. Verified Complaint at 10, ¶ 33. However, the MDE and OAH documents that the

only "best practice" that was developed and implemented was that practice that infringed the

right of parents and students to a full administrative hearing. Verified Complaint, Attachment B.

        The cooperative relationship regarding the best practices began on the 21st of September

2011 between Barbara Case (“Case”), Supervisor of the MDE’s Special Education Division, and

Eric L. Lipman (“Lipman”), Assistant Chief Administrative Law Judge.1 Verified Complaint at

11, ¶ 34.

        ALJ Eric Lipman stated the OAH's position:

        While the practice on the length of due process hearings varies considerably from state to
        state, to my mind suggests that the states have some discretion to make needful rules in
        this area – and that this would not offend federal education officials by doing so.

Verified Complaint at 10, ¶ 35, Attachment B.

        ALJ Lipman proposed to the OAH and MDE the following limitations:

        Each party to a due process hearing would be permitted no more than 6 hours of hearing

time for direct examination of that party’s witnesses and cross-examination of an opposing

party’s witnesses. Id at ¶ 36. At the time the six hour limitations was proposed by ALJ Lipman,

also recommended an “agency bill” adopting this limitation in state statute. Id. No rulemaking


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          The proposed time limits resulted from the administrative hearing captioned In the Matter of TLM v.
Minnetonka Public Schools, OAH File No. 15-1300-21798-9; MDE File No. 11-013H. The administrative hearing
lasted 11 days over the repeated objections of plaintiffs’ counsel as to the extraordinary length of the hearing,
Margaret O'Sullivan Kane. The bill from the ALJ to the MDE for the administrative law judge's time in hearing was
a shocking approximate amount of $50,000.00.


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was initiated regarding the best practices recommendations by either the MDE or OAH

Defendants. Id. at ¶ 37.

       By January 2012, the MDE and OAH developed and discussed time limitations on all

special education administrative hearings through “best practices” recommendations. Id at ¶ 38.

       On the 2nd of February 2012, the proposed “best practices” were provided to legal

counsel engaged in special education administrative hearing practice. Chief Judge Raymond

Krause characterized the “best practices” as “[t]hese practices represent the expectations of the

Minnesota Department of Education (MDE) has for practices in order to align Minnesota

practice more closely with State and Federal statute and rule.” Id at ¶ 39. However, no such

"State or Federal statute and rule" exists or has been identified by any of the OAH and MDE

Defendants. Verified Complaint at 11, ¶ 40.

       The MDE created seven "suggested best practices." Those practices include

requirements that the statutory timelines be followed absent some rare exception, and limit the

number of ALJs assigned to the cases and increase and intensify the training for those ALJs. The

MDE and OAH Defendants created the best practices time limits to apply to all special education

administrative hearing held in the state of Minnesota under state and federal law. The best

practice now govern the MDE and OAH Defendants' enforcement of the Plaintiffs and other

students with disabilities rights under the state and federal law. Verified Complaint at 11, 41,

Attachment B.

       In response to the MDE's "suggested best practices” neither the MDE nor the OAH

developed or designed “best practices” associated with the other six identified best practices. In

the instant case, and others, the administrative decisions were not provided within 75 day




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timeline identified in state and federal statute,2 as well as the best practices, and extensions to the

state and federal timelines are routinely granted without good cause. The MDE and OAH

confirmed in writing that the remaining six best practices had not been addressed by either the

MDE or the OAH. Verified Complaint at 11, ¶ 42.

           In another special education administrative hearing, ALJ Lipman granted both sides 18

hours for the presentation of their evidence because both parties had expert testimony to present.

To this limitation that represents a doubling of the time granted to the Plaintiffs, the Student and

District jointly objected (MDE File No. 13-028H; OAH File No. 8-1300-30720; School District

and Parents' Argument Against Imposition of the MDE's Arbitrary Timelines for Hearing). ALJ

Lipman asserted in the Order responsive to the joint objection that "because complex cases

involve the interplay between many 'facts of consequence," they require sturdier controls than

simple cases." (MDE File No. 13-028H; OAH File No. 8-1300-30720; Fourth Pre-hearing

Order). This assertion belies the significant controls imposed by ALJ Lipman on the Plaintiffs

based upon an unknown and unidentified assessment of the Plaintiffs' case as simple. Verified

Complaint at 12, ¶ 42.

I.         BOTH AGENCIES AND STATE OFFICIALS ARE PROPER PARTIES UNDER THE
           INDIVIDUALS WITH DISABILITIES EDUCATION ACT.

           MDE and OAH Defendants incorrectly assert that because state agencies are not a proper

party to a due process administrative hearing, they cannot be parties to an administrative decision

on appeal. MDE and OAH Brief at 7 ("Brief"). By arguing this position, Defendants

misapprehend the claim under the Individuals with Disabilities Education Act ("Act") that is

before the Court. The Defendants are correct that the Plaintiffs appealed the administrative

decision and that is a part of Count One but the argument disregards the stand alone claim


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     20 U.S.C. §1415(f)(1).

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against the Defendants under the Act, separate and apart from the appeal of the decision. The

Court will note that in each of the Defendants arguments, the Defendants cite authority for the

proposition that they are not proper parties to an appeal of the administrative decision rather than

address the real claim of liability under the Act for the creation and implementation of policies

and procedures that are a separate violation against the state agencies that created and

implemented the violative policies and procedures under the Act.

       As Count One specifically sets forth:

       The Plaintiffs were denied access to the special education administrative hearing pursuant
       to the IDEA, 20 U.S.C. § 1415 and Minn. Stat. § 125A.091 and were deprived of the
       opportunity to exhaust administrative remedies.

       MDE and OAH Defendants have adopted a policy and procedure of general applicability
       of denying due process to Plaintiffs and other eligible students with disabilities.

Complaint at p. 13, ¶¶ 46-47. The allegations that MDE and OAH Defendants have adopted a

policy and procedure that denied the Plaintiffs due process under the Act as a result of policy and

procedure of general applicability adopted by the Defendants is supported by the factual

averments set forth in ¶¶ 32-44 of the Complaint.

       These are stand alone claims separate and distinct from the errors on appeal of the

administrative, though the policies and procedures adopted by the MDE and OAH Defendants

did inform the basis for Plaintiffs' appeal.

       A.      STATE DEFENDANTS ARE NOT IMMUNE FROM SUIT UNDER THE ACT.

       The Defendants in support of their assertion that they are immune from suit cite to a

district court decision Thompson v. Board of Spec. Sch. Dist. No.1, 936 F.Supp. 644 (D.Minn.

1996) but disregard the subsequent Eighth Circuit decision in Bradley v. Arkansas Dept. of

Educ., 189 F.3d 745, 752 (8th Cir. 1999) that directly address the issue of 11th Amendment

immunity and the Act.


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       The Individuals with Disabilities Education Act contains 11th Amendment immunity

abrogation language specific to the state and its agencies:

       (a) IN GENERAL.—A State shall not be immune under the 11th amendment to the
       Constitution of the United States from suit in Federal court for a violation of this title.
       (b) REMEDIES.—In a suit against a State for a violation of this title, remedies (including
       remedies both at law and in equity) are available for such a violation to the same extent
       as those remedies are available for such a violation in the suit against any public entity
       other than a State.
1403

       The Eighth Circuit Court of Appeals in Bradley v. Arkansas Dept. of Educ., 189 F.3d

745, 752 (8th Cir. 1999) correctly held, consistent with its previous decision in Little Rock

School District v. Mauney, 183 F.3d 816 (8th Cir.1999):

       In addition to its abrogation holding, Mauney holds that Arkansas waived its Eleventh
       Amendment immunity by receiving funds appropriated under the IDEA. See Mauney,
       183 F.3d at 831–32. The Supreme Court's recent decisions add to the Court's waiver
       jurisprudence, see, e.g., College Savings, 119 S.Ct. at 2228 (rejecting the concept of
       constructive waiver), but these decisions do not affect Mauney 's analysis of the waiver
       issue. Rather, the Supreme Court continues to recognize that Congress, if acting within its
       spending power, may condition a state's participation in a federal spending program on
       the state's waiving its Eleventh Amendment immunity to claims arising from that
       program. See College Savings, 119 S.Ct. at 2231; see also Alden, 119 S.Ct. at 2267.

       * * *

       That provision, IDEA § 1415, requires states to provide certain procedures for parents
       who wish to challenge a state's implementation of the “free appropriate public education”
       standard. See 20 U.S.C.A. § 1415(a) (West Supp.1999). One of the procedures that must
       be provided is the opportunity to have IDEA decisions reviewed in federal court. See 20
       U.S.C.A. § 1415(i)(2) (West Supp.1999) (stating that parties who are aggrieved by a
       decision under the IDEA may file an action in a federal district court); see also 20
       U.S.C.A. § 1415(i)(3)(A) (West Supp.1999) (stating that “district courts of the United
       States shall have jurisdiction of actions brought under this section without regard to the
       amount in controversy”). When it enacted §§ 1403 and 1415, Congress provided a clear,
       unambiguous warning of its intent to condition a state's participation in the IDEA
       program and its receipt of federal IDEA funds on the state's waiver of its immunity from
       suit in federal court on claims made under the IDEA. We therefore hold in accordance
       with Mauney that Arkansas waived its Eleventh Amendment immunity with respect
       to IDEA claims when it chose to participate in the federal spending program created
       by the IDEA.



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Bradley at 752.

        Assuming that this Court does not agree with the abrogation language in the Act and as

set forth in Bradley, the Court in Bradley identified an additional distinction by which state

agencies could be sued in federal court:

        The Bradleys argue that, even if the ADE could not be sued in federal court, Ex parte
        Young, 209 U.S. 123, 28 S.Ct. 441, 52 L.Ed. 714 (1908), allows them to seek to enjoin
        ADE officials, including defendant Crowley, from committing violations of federal law.
        We agree. Ex parte Young permits a private party to receive prospective injunctive relief
        in federal court against a state official, even if the Eleventh Amendment otherwise
        protects the state and its officials from being sued in federal court. See Ex parte Young,
        209 U.S. at 155–56, 159, 166–68, 28 S.Ct. (allowing a federal court to ignore a state's
        Eleventh Amendment immunity and impose prospective injunctive relief on state
        officials to enjoin a future violation of federal law); see also Missouri v. Jenkins, 491
        U.S. 274, 279, 109 S.Ct. 2463, 105 L.Ed.2d 229 (1989) (stating that a state's Eleventh
        Amendment immunity does not prevent “an award of attorney's fees ancillary to a grant
        of prospective relief” pursued under Ex parte Young ).

        In the case before this Court, the Plaintiffs specifically seek injunctive relief against the

MDE and OAH Defendants:

        Issue a Preliminary Injunction requiring Defendants to cease the practice of imposing
        arbitrary and capricious without undertaking rulemaking procedures time limits on the
        presentation of evidence in special education administrative hearings provide Plaintiffs
        with their due process as required under state and federal law.


Complaint at 19.

        The Court in Bradley also found that because the state had waived its 11th Amendment

immunity by accepting federal funds under the Act that waiver of immunity extended to state

officials as well:

         Furthermore, even if Ex parte Young did not apply, the Bradleys could pursue any
        remedies available under the IDEA against Crowley because, when Arkansas waived its
        own Eleventh Amendment immunity with respect to IDEA claims, it also waived any
        Eleventh Amendment immunity Crowley might have had as a state official with respect
        to such claims. “The only immunities that can be claimed in an official-capacity action
        are forms of sovereign immunity that the entity, qua entity, may possess, such as the
        Eleventh Amendment.” Kentucky v. Graham, 473 U.S. 159, 167, 105 S.Ct. 3099, 87


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       L.Ed.2d 114 (1985). Under Graham, when Arkansas waived its own Eleventh
       Amendment immunity from suits brought under the IDEA, the state also waived the
       Eleventh Amendment immunity of its officials from such suits. See Duffy v. Riveland, 98
       F.3d 447, 452 n. 4 (9th Cir.1996). The District Court, therefore, may exercise jurisdiction
       over the Bradleys' IDEA claims against Crowley and may provide any relief that the
       IDEA authorizes.

Bradley at 754. Thus the same waiver of immunity applies to state official including Defendants

Cassellius and Pust.

       B.      STATE DEFENDANTS ARE PROPER PARTIES TO SUIT UNDER THE ACT.

       First, it is well established that certain political subdivisions of a state are “persons”

which can be held liable under section 1983. See Monell v. Department of Social Services of City

of New York, 436 U.S. 658, 690, 98 S.Ct. 2018, 2035–36, 56 L.Ed.2d 611 (1978).

       The Act explicitly requires the submission of a State Plan which sets forth in detail the

policies and procedures which the State will undertake to assure a free appropriate public

education for all children with disabilities. See 20 U.S.C. § 1412; Rowley, 458 U.S. at 181, 102

S.Ct. at 3037–38.

       The present dispute involves section 1412(a)(6) and (11) of the Act which provides:

       IN GENERAL.—A State is eligible for assistance under this part for a fiscal year if the
       State submits a plan that provides assurances to the Secretary that the State has in effect
       policies and procedures to ensure that the State meets each of the following conditions:

       (6) PROCEDURAL SAFEGUARDS.— (A) IN GENERAL.—Children with disabilities
       and their parents are afforded the procedural safeguards required by section 615.

       ***
       (11) STATE EDUCATIONAL AGENCY RESPONSIBLE FOR GENERAL
       SUPERVISION.—

       (A) IN GENERAL.—The State educational agency is responsible for ensuring that—
       (i) the requirements of this part are met;




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20 U.S.C. § 1412(a)(11). Pursuant to this section, the burden is placed directly on the State,

through its state educational agencies, to supervise and ensure the procedural safeguards set forth

in 1415 are provided to all eligible students with disabilities within the state.

        Defendants assert that pursuant to the district court decision in Quatroche v. East Lyme

Bd of Educ., 604, F.Supp.2d 403, 407 (D.Conn. 2009) the state is not a proper party to a suit

under the Act because a hearing officer dismissed claims on the basis of a footnote in a letter

issued by the Commissioner of Education. Brief at 13. The case at bar is distinguished from

Quatroche as the only claim against the state defendants was based upon a legal error rendered

by the hearing officer. In this case, the claims are far more than the legal error by the ALJ.

Instead, Plaintiffs base their claims against MDE and OAH Defendants on their active

participation in the development and implementation of policy and procedure of general

applicability that substantially infringed the Plaintiffs' procedural due process rights under a

federal statute.

        C.         PLAINTIFFS PROPERLY PLED INDIVIDUAL LIABILITY FOR DEFENDANTS
                   CASSELLIUS AND PUST.

        Through § 1983, Congress sought “to give a remedy to parties deprived of constitutional

rights, privileges and immunities by an official's abuse of his position.” Monroe v. Pape, 365

U.S. 167, 172, 81 S.Ct. 473, 476, 5 L.Ed.2d 492 (1961). Accordingly, it authorized suits to

redress deprivations of civil rights by persons acting “under color of any [state] statute,

ordinance, regulation, custom, or usage.” 42 U.S.C. § 1983; Hafer v. Melo, 502 U.S. 21, 27, 112

S.Ct. 358 (1991).

        Congress enacted § 1983 “ ‘to enforce provisions of the Fourteenth Amendment against

those who carry a badge of authority of a State and represent it in some capacity, whether they

act in accordance with their authority or misuse it.’ ” Scheuer v. Rhodes, 416 U.S. 232, 243, 94


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S.Ct. 1683, 1689, 40 L.Ed.2d 90 (1974) (quoting Monroe v. Pape, supra, 365 U.S., at 171-172,

81 S.Ct., at 475-476). Because of that intent, the Supreme Court has held that in § 1983 actions

the statutory requirement of action “under color of” state law is just as broad as the Fourteenth

Amendment's “state action” requirement. Lugar v. Edmondson Oil Co., 457 U.S. 922, 929, 102

S.Ct. 2744, 2749, 73 L.Ed.2d 482 (1982); Hafer v. Melo, 502 U.S. 21, 27, 112 S.Ct. 358 (1991).

        Defendant Cassellius and Pust alleged that pursuant to Ashcroft v. Iqbal, 556 U.S. 662,

129 S.Ct. 1937 (2009) the Plaintiffs claims against the individually named Defendants must fail

because the "Complaint is utterly and completely devoid of any factual allegations of any

specific individual conduct by either [Cassalius] or [Pust] . . ." Brief at 16. Defendants assert

that Plaintiffs' Complaint allege action more akin to respondeat superior and/or "supervisory

liability" claims.

        The Court in Ashcroft set forth the following pleading requirement to survive a motion to

dismiss:

        To survive a motion to dismiss, a complaint must contain sufficient factual matter,
        accepted as true, to “state a claim to relief that is plausible on its face.” Id., at 570, 127
        S.Ct. 1955. A claim has facial plausibility when the plaintiff pleads factual content that
        allows the court to draw the reasonable inference that the defendant is liable for the
        misconduct alleged. Id., at 556, 127 S.Ct. 1955. The plausibility standard is not akin to a
        “probability requirement,” but it asks for more than a sheer possibility that a defendant
        has acted unlawfully. Ibid. Where a complaint pleads facts that are “merely consistent
        with” a defendant's liability, it “stops short of the line between possibility and plausibility
        of ‘entitlement to relief.’ ” Id., at 557, 127 S.Ct. 1955 (brackets omitted).

Ashcroft at 678.

        The Court draws a parallel to the pleadings in Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 127 S.Ct. 1955, 167 L.Ed.2d 929,(2006) wherein the plaintiffs in that action flatly alleged

that the "defendants entered into a contract, combination or conspiracy to prevent competitive




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entry" and that the "defendants took a parallel course of conduct" which the Court determined

was insufficient to plausibly suggest an unlawful agreement entered into by the Defendants.

       In contrast, Plaintiffs Complaint provides the specific factual averments of Defendant

Cassellius and Pust in coordinating to limit the federal right to due process under the Act:

           On information and belief, Cassellius is a resident of the State of Minnesota.
           Cassellius was responsible, in part or in whole, for violating Branden's IDEA and
           Fourteenth Amendment rights by creating, endorsing and enforcing in conjunction
           and cooperation with the OAH the arbitrary time limits for special education
           administrative hearings.

Complaint at 11.

           Pust, on information and belief, acted as an agent of the OAH at all times relevant
           times and under the color of state law. On information and belief, Pust is a resident
           of the State of Minnesota. Pust was responsible, in part or in whole, for violating
           Branden's IDEA and Fourteenth Amendment rights by creating, endorsing and
           enforcing in conjunction and cooperation with the MDE Defendants the arbitrary time
           limits for special education administrative hearings.

Complaint at 13.

       In support of those allegations, Plaintiffs attached to their Complaint the document

reflected in Attachment B, which the Complaint references and recites. On page 7 of Attachment

B, Defendant Pust, in her position as Chief Legal and Compliance Officer for the Minnesota

Department of Education wrote:

       Hearing Length. MDE expects that in all but exceptional circumstances hearings will be
       concluded within three six-hour days of testimony, and that these two (sic) days will be
       scheduled consecutively or, at a minimum, within the same week. The overwhelming
       majority of these cases are not so complex as to require that substantive evidence be
       added to the record after three full days of hearing. . .

Complaint, Attachment B, p. 7. Plaintiffs have properly averred that on information and belief

Defendant Cassellius worked with Chief Legal Counsel Pust at the MDE to coordinate with the

OAH to place these unlawful restrictions on the rights of children with disabilities to have a full

and fair hearing under the Act.


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       Certainly, the direct action of Defendant Pust in her capacity as MDE Chief Legal

Counsel and later in her capacity as Chief Judge of the Office of Administrative Hearing reflects

direct knowledge, action and coordination on Defendant Pust's part in both capacities. As page

16 of Attachment B, the agenda wherein the limitation was discussed was a meeting that

included all APA Judges at the OAH, including Defendant Pust. Without further discovery,

more direct allegations of involvement by Defendants Cassellius and Pust, at this time, would be

subject to the pleading limitations of due diligence and direct knowledge.

       Defendants make efforts in their brief to pass the responsibility down to the

Administrative Law Judge by characterizing the time limits as a discretionary function and that

the best practices are not binding. The averments in the pleading reflect a opposite conclusion

despite the ALJ's best efforts to assert that the inflexible time limits were within his statutory

discretion to control the administrative proceedings pursuant to Minn. Stat. § 125A.091 and the

fault of allegedly incompetent counsel. However, contrary to the case law cited by Defendants

in support of their contention at p. 10, the ALJ in the instant case provided no basis for the

exclusion of evidence on the basis of undue delay, waste of time or needless presentation of

cumulative evidence. In fact, the final decision reflects that relevant, probative evidence was not

admitted into the record which the ALJ laments in retrospect and that one of the fundamental

issues under consideration, i.e., the motivation of the student, was buttressed only by testimony

from the district witnesses, as none of the Plaintiffs were permitted to testify.

II.    STATE LAW CLAIMS ARE NOT BARRED BY 11TH AMENDMENT IMMUNITY.

       Defendants cite to Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 104 S.Ct.

900 (1984) for the proposition that 11th amendment immunity cannot be defeated through claims

involving state law against a state agency. Defendants' reliance on this decision is predicated on



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the conclusion that the Defendants' immunity was not waived. As Plaintiffs assert infra, 11th

Amendment immunity under the IDEA was specifically waived by the Act and by state

Defendants acceptance of the federal funding proceeds associated with Act.

                                        CONCLUSION

       The Plaintiffs respectfully request that the Court deny MDE and OAH Defendants'

Motion to Dismiss.

                                     Respectfully submitted,


                                     KANE EDUCATION LAW, LLC.


Dated: 30 January 2014                /s/ Margaret O’Sullivan Kane
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